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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 EASTERN DIVISION


UNITED STATES OF AMERICA


VERSUS                                                CRIMINAL ACTION NO. 1:04CR135-P-D


EARL COUSINS, et al


                                              ORDER

         This cause is before the Court, sua sponte, for consideration of a continuance of the trial

scheduled for August 8, 2005. The Court, being fully advised in the premises, finds as follows, to-

wit:

         That the assigned district judge has a physical condition which requires surgery; the surgery

and attendant recuperation period will prevent the judge from attending to judicial matters during

the period of the previously scheduled trial. Accordingly, a continuance of the trial is necessary.

         The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. § 3161(h)(8)(A),

the period of delay from August 8, 2005 until the new trial date to be set in this matter. The time is

excludable under subsection (h)(8)(A) because, given the circumstances described above, the failure

to grant a continuance of the proceeding would be likely to make a continuation of such proceeding

impossible. Therefore, the ends of justice served by the granting of this continuance outweigh the

best interests of the public and the defendant in a speedy trial.

         IT IS, THEREFORE, ORDERED AND ADJUDGED that

         1.     The trial of this matter is continued until Monday, October 17, 2005 at 9:00 a.m. in

                the United States District Courthouse in Greenville, Mississippi;
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  2.     That the delay from August 8, 2005 until October 17, 2005 is excluded as set out

         above;

  3.     That the deadline for filing pretrial motions is September 26, 2005;

  4.     That the deadline for submitting a plea agreement is October 3, 2005.

  SO ORDERED, this the 12th day of July, 2005.


                                               /s/ W. Allen Pepper, Jr.
                                               W. ALLEN PEPPER, JR.
                                               UNITED STATES DISTRICT JUDGE
